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                                 UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF LOUISIANA

     ABBY OWENS, ET AL.                                      CIVIL ACTION NO.: 3:21-cv-00242

                              Plaintiffs,                    SECTION

     VERSUS                                                  JUDGE VITTER

     LOUISIANA STATE UNIVERSITY, et al.                      MAGISTRATE JUDGE JOHNSON

                              Defendants.                    ORAL ARGUMENT REQUESTED

                DEFENDANT TIGER ATHLETIC FOUNDATION’S
         MOTION TO COMPEL CASE STATEMENT AND COMPREHENSIVE
        SUPERSEDING COMPLAINT, SECOND MOTION FOR EXTENSION OF
    TIME TO RESPOND, AND ALTERNATIVE MOTION FOR STATUS CONFERENCE

        Defendant Tiger Athletic Foundation (“TAF”) moves to compel plaintiffs to file a case

statement and comprehensive superseding complaint “to establish an efficient procedure for

handling this RICO case,”1 in which plaintiffs allege—among nineteen claims—violations of the

Louisiana Racketeering Act, the state’s “equivalent” of the federal RICO statute. TAF also moves

for an extension of time to respond to plaintiffs’ complaint and case statement only because

plaintiffs’ case statement deadline has been continued. Alternatively, TAF asks this Court to hold

a status conference to address how this putative class action involving ten named plaintiffs,

eighteen named defendants,2 and nineteen different liability counts should efficiently and

economically proceed.




1
        R. Doc. 48 at 1.
2
        Though plaintiffs name “Louisiana State University” as a defendant, the law is clear that LSU’s Board of
        Supervisors is the only entity capable of suing and being sued on the University’s behalf. See generally La.
        Stat. § 17:3351; Davis v. La. State Univ. & A&M College, No.18-614, 2019 WL 179580, at *4 (M.D. La.
        Jan. 11, 2019) (“[A]s a matter of Louisiana law, neither LSU nor the LSU PD are juridical entities capable
        of being sued.”).
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                                                   1.

          This case is a RICO case, notwithstanding plaintiffs’ Rule 41 dismissal of their federal

RICO claim. Both plaintiffs’ original class action complaint and amended class action complaint

alleged identical federal and state racketeering claims based on the same scant allegations against

grouped defendants.

                                                   2.

          Because of these racketeering claims, this Court rightly required plaintiffs to file a “case

statement” identifying “the facts each plaintiff relies upon to initiate this RICO complaint as a

result of the ‘reasonable inquiry’ required by Federal Rule of Civil Procedure 11”3—a directive

equally aimed at plaintiffs’ identical Louisiana RICO claims. The Court ordered plaintiffs to

specify facts about defendants’ alleged “predicate acts,” “pattern of racketeering,” and each

plaintiff’s “injury to . . . business or property,” all of which apply equally to Louisiana RICO

claims.     The order also sought any other information that would help the Court process

“[plaintiffs’] RICO claim.”

                                                   3.

          In the interests of efficiency and economy, this Court allowed TAF to respond 21 days after

plaintiffs’ case statement filing deadline, or until September 28, 2021.4

                                                   4.

          Days before plaintiffs’ case statement filing deadline, plaintiffs demanded all defendants

consent to their filing a second amended complaint to remove only the federal racketeering claim




3
          R. Doc. 48 at 1.
4
          R. Doc. 59.




                                                   2
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to “eliminate the need for the filing of the RICO case statement,”5 despite their continued pursuit

of identical Louisiana RICO claims.

                                                5.

       Without waiting for defendants’ response, plaintiffs then unilaterally filed a Rule 41 notice

of dismissal removing Count “XVIII” and “paragraphs 535-542, 544-547, and 549-552” from their

complaint while maintaining certain non-consecutive paragraphs of their federal RICO claim to

support their Louisiana RICO claim.6

                                                6.

       Because plaintiffs continue to accuse various defendants of criminal racketeering under the

same allegations—with seemingly no Rule 11 basis for doing so—the same efficiency, economy,

and fairness considerations underlying this Court’s original case statement order and TAF’s later

response deadline are still present.

                                                7.

       Accordingly, for these reasons, and as detailed in the supporting memorandum, this Court

should grant TAF’s motion and compel plaintiffs to provide the case statement identifying facts to

support their Louisiana RICO claims and to respond to the other inquiries in the Court’s RICO

order. Relatedly, the Court should again allow TAF the same 21 days from plaintiffs’ filing their

case statement or until October 18, 2021, whichever is later, to respond.




5
       See TAF Exh. A at 7.
6
       R. Doc. 67.



                                                3
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                                                 8.

        The Court also should order plaintiffs to file a “comprehensive” superseding complaint that

removes the counts and non-consecutive paragraphs no longer at issue, rather than merely

identifying these paragraphs in later filings on the docket.

                                                 9.

        Alternatively, TAF asks this Court to hold a status conference with all parties to address

defendants’ response deadlines and obligations, as well as how the parties can efficiently and

economically manage these complex proceedings.

                                                 10.

        Undersigned counsel asked plaintiffs’ counsel for their consent to this motion by email on

September 9, 2021. The same day, plaintiffs’ counsel advised that they oppose all requested relief,

including a status conference with the Court.



                                                       Respectfully submitted,

                                                           /s/ Chloé M. Chetta
                                                       Judy Y. Barrasso, 02814
                                                       Laurence D. LeSueur, Jr., 35206
                                                       Chloé M. Chetta, 37070
                                                       Lance W. Waters, 37351
                                                       BARRASSO USDIN KUPPERMAN
                                                         FREEMAN & SARVER, L.L.C.
                                                       909 Poydras Street, Suite 2350
                                                       New Orleans, LA 70112
                                                       Telephone: (504) 589-9700
                                                       jbarrasso@barrassousdin.com
                                                       llesueur@barrassousdin.com
                                                       cchetta@barrassousdin.com
                                                       lwaters@barrassousdin.com

                                                       Counsel for Defendant Tiger Athletic
                                                       Foundation
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